              Case 2:12-cr-00364-GEB Document 120 Filed 01/23/14 Page 1 of 2


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 6   TERRANCE R. SMALLS

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      )       No. 2:12-cr-364 GEB
11                                                  )
                                                    )       STIPULATION AND
            Plaintiff,                              )       [PROPOSED] ORDER CONTINUING
12
                                                    )       STATUS CONFERENCE
13   v.                                             )
                                                    )
14   TERRANCE R. SMALLS.                            )       Date: 01/24/14
                                                    )       Time: 9 a.m.
15                                                  )       Judge: Hon. Garland E. Burrell, Jr.
            Defendant.                              )
16                                                  )
                                                    )
17                                                  )

18
            IT IS HEREBY stipulated between the United States of America through its undersigned
19
     counsel, Jared Dolan, Assistant United States Attorney, attorney for plaintiff, together with
20
     Steven Plesser, attorney for defendant Terrance R. Smalls that the above case be vacated from
21
     this Court’s January 24, 2014 calendar and that it be continued until February 21, 2014 at 9 a.m.
22
     for status conference.
23
            The Court is advised that a non-trial disposition has been agreed to in this case.
24
     However, Mr. Smalls has informed counsel that his car and wallet were recently stolen and he is
25
     in the process of obtaining a replacement driver’s license. He will not be able to obtain one
26
     prior to the court date and will thus not be able to fly to Sacramento from his home in Southern
27
     California. He also cannot drive without a vehicle or license. It is anticipated that Mr. Small’s
28
     will enter a change of plea to the plea agreement at the subsequent court date of February 21.


                                                        1
              Case 2:12-cr-00364-GEB Document 120 Filed 01/23/14 Page 2 of 2



 1          The Court is requested to find that this continuance is reasonable, that the interests of
 2   justice served by granting it outweigh the interests of the defendants and of the public in a
 3   speedy trial, and that time for trial under the Speedy Trial Act be excluded pursuant to
 4   18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code T-4.
 5          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 6   IT IS SO STIPULATED.
 7
     Dated: January 21, 2014                                      /s/ Steven B. Plesser
 8                                                                STEVEN B. PLESSER
                                                                  Attorney for Defendant
 9                                                                TERRANCE R. SMALLS
10

11   Dated: January 21, 2014                                      U.S ATTORNEY’S OFFICE

12                                                         by:    /s/ Steven B. Plesser for
13
                                                                  JARED DOLAN
                                                                  Assistant U.S. Attorney
14                                                                Attorney for Plaintiff
15                                       [PROPOSED] ORDER

16          The Court finds that the interests of justice served by granting the attached request for a

17   continuance outweigh the best interests of the public and the defendant in a speedy trial. The

18   request for a continuance is therefore granted.

19          Time for trial under the Speedy Trial Act is hereby excluded between January 24, 2014

20   and February 21, 2014 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T4. It is further

21   ordered that the January 24, 2014, status conference shall be continued until February 21, 2014

22   at 9:00 a.m.

23
     IT IS SO ORDERED.
24
     Dated: January 22, 2014
25

26

27

28




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